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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 DC CENTER FOR INDEPENDENT
 LIVING, et al.,

          Plaintiffs,

          v.                                         Civil Action No. 1:22-cv-03541-JMC

 DISTRICT OF COLUMBIA, et al.,

          Defendants.


                        PLAINTIFFS’ PROPOSED SCHEDULING ORDER

         Upon consideration of the Parties’ Joint Report, and the entire record, it is ORDERED

that the Parties adhere to the following schedule:

 Event                                                             Deadline

 Initial Disclosures                                               May 23, 2024

 Deadline for Joinder and Amendment of Pleadings                   October 25, 2024

 Close of Fact Discovery                                           January 29, 2025

 Exchange of Initial Expert Reports                                March 28, 2025

 Exchange of Rebuttal Expert Reports                               May 9, 2025

 Close of Expert Discovery                                         June 13, 2025

 Deadline for Filing Motion for Summary Judgment and               July 18, 2025

 Daubert motions

 Deadline for Opposing Motions for Summary Judgment and            30 days from the date of the
 Daubert motions
                                                                   filing of the motion
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 Deadline for reply memos                                  14 days from the date of the

                                                           opposition memo


Dated:
                                            JIA M. COBB
                                            United States District Judge




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